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5                             UNITED STATES DISTRICT COURT

6                            EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,              No. 2:15-cr-125-GEB
9               Plaintiff,
10         v.                               ORDER DENYING MOTION FOR
                                            RECONSIDERATION
11   BENJAMIN MACIAS,
12              Defendant.
13

14                Defendant Benjamin Macias seeks reconsideration of the

15   magistrate judge’s February 28, 2018, denial of that aspect of

16   his motion to compel discovery relating to his request for his

17   co-defendant’s Presentence Investigation Report (“PSR”).                    Mot.

18   for Recons., ECF No. 118.

19                The    District   Court   may    revisit     and   set    aside     a

20   Magistrate     Judge’s    non-dispositive    order   in   whole   or   in   part

21   “where it has been shown that the magistrate judge’s order is

22   clearly erroneous or contrary to law.”            28 U.S.C. § 636(b)(1)(A);

23   see   also    Fed. R. Civ. P. 72(a);       EDCA   Local   Rule 303(f).         The

24   District Court must accept the Magistrate Judge’s findings unless

25   it has a “definite and firm conviction that a mistake has been

26   committed.”        Concrete Pipe & Products of Cal., Inc. v. Constr.

27   Laborers Pension Trust for S. Cal., 508 U.S. 602, 622 (1993).

28   The Court will not reverse even if convinced that it would have
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1    weighed the evidence differently.               Phoenix Eng. & Supply Inc. v.

2    Universal Elec. Co., Inc., 104 F.3d 1137, 1141 (9th Cir. 1997).

3    “An order is contrary to law when it fails to apply or misapplies

4    relevant statutes, case law, or rules of procedure.”                    DeFazio v.

5    Wallis, 459 F.Supp.2d 159, 163 (E.D.N.Y. 2006); see also United

6    States v. Mitchell, 128 F. Supp. 3d 1266, 1271 (E.D. Cal. 2015).

7                 In this instance, the magistrate judge heard argument

8    from the parties and reviewed the PSR in camera.                     Minute Order,

9    ECF   No.    114.     After   review      of    the   record   and    each   party’s

10   argument, Defendant’s motion, ECF No. 118, is denied because the

11   magistrate      judge’s     ruling   is       neither   clearly      erroneous   nor

12   contrary to law.

13                The    April   27,   2018     hearing      on   the   reconsideration

14   motion is converted to a status hearing.

15   Dated:      April 26, 2018

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